     Case 3:17-cv-02369-TWR-KSC Document 70 Filed 03/04/21 PageID.531 Page 1 of 2




1     Joseph M. McMullen (CSB 246757)
      Law Offices of Joseph M. McMullen
2     501 W. Broadway, Suite 1510
      San Diego, CA 92101
3     Tel: (619) 501-2000
      Fax: (619) 615-2264
4     Email: joe@jmm-legal.com
5     Attorney for Plaintiff Bessie Woodward
6     Thomas E. Robertson (CSB 262659)
      Law Office of Thomas E. Robertson
7     501 W. Broadway, Suite 1510
      San Diego, CA 92101
8     Tel: (619) 544 - 9911
      Fax: (619) 615-2264
9     Email: thomas@robertsonSDlaw.com
10    Attorney for Plaintiff Edward Woodward
11

12                       UNITED STATES DISTRICT COURT
13                    SOUTHERN DISTRICT OF CALIFORNIA
14
                                          )
15                                        )
16
     BESSIE WOODWARD, individually ) Case No.: 17-cv-2369-TWR-KSC
     and as Successor in Interest to LYLE )
     WOODWARD;                            )
17                                        )
                                          )
18   EDWARD WOODWARD, individually ) JOINT NOTICE OF PENDING
     and as Successor in Interest to LYLE ) SETTLEMENT
19   WOODWARD,                            )
                                          )
20                      Plaintiffs,       )
                                          )
21      vs.                               )
                                          )
22   COUNTY OF SAN DIEGO;                 )
     CURTIS STRATTON; and                 )
23   DOES 1-20,                           )
                                          )
24                      Defendants.       )
                                          )
25

26

27

28



                                              1
                            JOINT NOTICE OF PENDING SETTLEMENT
     Case 3:17-cv-02369-TWR-KSC Document 70 Filed 03/04/21 PageID.532 Page 2 of 2




1    TO THE HONORABLE COURT:
2          The parties in the above-captioned matter have reached a settlement
3    agreement in principle pending finalization of settlement documents, performance
4    of settlement conditions, and filing of requests for dismissal, which are expected to
5    be completed within the next 60 days. The settlement will dispose of this entire
6    action.
7          The parties further request that all pending hearings and due dates be
8    vacated, and that the Court set a telephonic status conference regarding the
9    settlement in approximately 60 days.
10

11                                    Respectfully submitted,
12
     Dated: March 4, 2021             /s/ Joseph M. McMullen
13                                    Joseph M. McMullen
                                      Attorney for Plaintiff Bessie Woodward
14
     Dated: March 4, 2021             /s/ Thomas Robertson
15
                                      Thomas Robertson
16                                    Attorney for Plaintiff Edward Woodward
17   Dated: March 4, 2021             THOMAS E. MONTGOMERY, County Counsel
18
                                      By: /s/ Robert Ortiz
19                                    Attorneys for Defendants County of San Diego
                                      and Dep. Curtis Stratton
20

21
           I, Joseph McMullen, hereby certify that the content of this joint notice is
22
     acceptable to all parties required to sign this joint motion. All parties authorize me
23
     to affix their CM/ECF electronic signatures to this joint motion.
24
     DATED: March 4, 2021             LAW OFFICES OF JOSEPH M. McMULLEN
25
                                      By: /s/ Joseph M. McMullen
26
                                      Attorney for Plaintiff Bessie Woodward
27                                    Email: joe@jmm-legal.com
28



                                                2
                              JOINT NOTICE OF PENDING SETTLEMENT
